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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF TEXAS


  W.M.M., et al., on their own behalf and on behalf
  of all others similarly situated,

  Petitioners–Plaintiffs,
                                                        Case No. 1:25-cv-59-H
  v.

  DONALD J. TRUMP, in his official capacity as
  President of the United States, et al.,

  Respondents–Defendants.



           MEMORANDUM IN SUPPORT OF PETITIONERS-PLAINTIFFS’
             MOTION TO RECONSIDER OR, IN THE ALTERNATIVE,
                 TO CERTIFY A CLASS UNDER RULE 23(c)(4)
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                                        INTRODUCTION

       Petitioners respectfully move for reconsideration of the Court’s order denying class

certification. ECF No. 67 (“Op.”). In habeas cases under the Alien Enemies Act, every other court

to consider this issue has granted class certification of the same district-wide class Petitioners seek

here. See J.A.V. v. Trump, No. 1:25-CV-072, 2025 WL 1256996, *6 (S.D. Tex. May 1, 2025)

(Rodriguez, J.); D.B.U. v. Trump, No. 1:25-CV-01163, 2025 WL 1304198, *10 (D. Colo. May 6,

2025) (Sweeney, J.); A.S.R. v. Trump, No. 3:25-CV-00113, 2025 WL 1225979, *2 (W.D. Pa. Apr.

25, 2025) (Haines, J.); G.F.F. v. Trump, No. 25-CV-2886, 2025 WL 1166482, *3 (S.D.N.Y. Apr.

9, 2025), amended, 2025 WL 1166909 (Apr. 11, 2025) (Hellerstein, J.).

       This Court denied certification because, if the class’s common challenges are unsuccessful,

any remaining challenges—such as whether a particular person is a member of Tren de Aragua—

would need to be resolved through individualized litigation. But that is a constant feature of Rule

23(b)(2) classes and similar classes under the All Writs Act, including classes the Supreme Court,

the Fifth Circuit, and courts around the country have routinely approved. The possibility of later

as-applied challenges is not a reason to deny class certification for claims that concededly are

common to the class and could resolve the entire litigation.

       The Court’s decision cited the concern that certifying a class as to common claims might

bar class members, as a matter of res judicata, from later raising individualized claims. But courts

are unanimous that judgment in a Rule 23(b)(2) case only has preclusive effect for the classwide

claims—not individualized claims that could not have been resolved classwide. And as a general

matter, res judicata does not even apply in habeas cases. Thus, even if the class lost on all its

challenges to the validity of the Proclamation, that would not bar any class member from asserting

that they are not a member of TdA, or that they are not subject to the Proclamation for some other



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individualized reason.

       The Court also suggested that habeas does not permit a court to enjoin removal under the

AEA, only order release from detention. Op. 43-44. But the Supreme Court's April 7 decision in

J.G.G. held that not only can “[c]hallenges to removal under the AEA” be brought in habeas, they

may only be “brought in habeas.” Trump v. J.G.G., 145 S. Ct. 1003, 1005-06 (2025) (emphasis

added). Every other court to face this issue since J.G.G. has thus enjoined removals under the

AEA while individuals pursue judicial review, and if successful on the common questions, they

have permanently barred AEA removals. See, e.g., J.A.V. v. Trump, 2025 WL 1257450, *18, 20

(S.D. Tex. May 1, 2025) (granting summary judgment).

       As a practical matter, class certification is necessary to ensure that people “subject to

removal under the Alien Enemies Act get judicial review.” J.G.G., 145 S. Ct. at 1006 (quotation

marks omitted). There are some 176 putative class members in this District, and there could easily

be hundreds more if the government continues moving detainees into the District. A large number

do not have attorneys. Detainees have no real way to file habeas petitions pro se; indeed, not a

single AEA detainee has managed to do so—in this District or any other—since the Proclamation

was issued. And there are serious barriers to obtaining representation. Attorneys who visit the

detention facilities can only meet with a limited number of detainees per day, and only detainees

whose names they provide in advance. Yet the government has refused to provide a list or any

other information about the people it is detaining for removal under the AEA.

       To provide meaningful protection, the class must be district-wide. The government keeps

moving detainees between facilities in this District, most recently to the Eden Detention Center

and Prairieland Detention Facility—including one of the named Petitioners. It has made these

transfers at the same time it has argued that any class should be limited to Bluebonnet. And it



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transferred large numbers of detainees from other parts of the country into this District days after

courts in other districts enjoined removals within those districts.

        The practical need for a class is exacerbated by the government’s current notice protocols,

which provide an English-only form that does not tell people they may contest their AEA

designation and removal, much less how to do so or how quickly they must do it. Despite this, the

government plans to remove people within 12 hours, or 24 hours if they specifically state an

intention to file a habeas petition.

        The government’s recent Supreme Court filing puts this in sharp relief. See Supp. Mem.,

A.A.R.P. v. Trump, No. 24A1007 (May 12, 2025). The government states that “there are some 176

putative class members” in this District, 149 of whom have not been ordered removed under Title

8. Id. at 2, 11. The government has not provided Petitioners’ counsel with the names or A numbers

of this group, and counsel has not otherwise been able to learn most of their names or A

numbers. Consequently, Petitioners’ counsel cannot meet with them under the detention facilities’

policies for legal visits.

        The government’s filing claims that non-named petitioners have had three weeks to bring

habeas petitions, and that a class is therefore unnecessary. Id. at 2. But that ignores three

points. First, the government does not say how many of the 176 putative class members have

received notices designating them for removal under the AEA; insofar as pro se individuals have

not yet received a notice, they would have had no reason during these three weeks to know they

had to file a habeas petition. Second, for those who have received AEA notices but are

unrepresented and unknown to Petitioners’ counsel, no detainee that Petitioners know of has yet

been able to file an AEA habeas petition pro se. Thus, without classwide relief, dozens of these

class members may immediately be sent to El Salvador’s CECOT prison, with no opportunity to



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challenge their removal. Finally, the three weeks is backward looking. Absent a class, there will

be nothing preventing the government from giving notices to dozens or hundreds more people

going forward and then removing them to El Salvador under after 12 or 24 hours. That would

include individuals already detained in the Northern District of Texas as well as those who are

subsequently transferred into the District.

       Alternatively, if the Court does not reconsider its ruling, Petitioners respectfully request

that the Court at a minimum certify a class as to common issues pursuant to Rule 23(c)(4), which

provides that a class can proceed “with respect to particular issues.” Fed. R. Civ. P. 23(c)(4). As

this Court acknowledged, Petitioners’ claim that the Proclamation is ultra vires would be

appropriate for classwide resolution. Op. 26, 37, 38, 39. Other common issues are likewise

appropriate for certification under Rule 23(c)(4). Otherwise, hundreds of class members will be

required to litigate these identical, complex, and dispositive threshold AEA issues in parallel on

their own.

       Finally, there is nothing preventing the Court from certifying a habeas class under Rule 23,

habeas principles, and/or the All Writs Act. Every circuit to consider the issue has agreed that

habeas petitioners can litigate common claims as a class. And in line with this consistent

precedent, the other district courts have certified AEA classes based on both Rule 23 and the All

Writs Act.

                                          ARGUMENT

   I. THE COURT SHOULD                        RECONSIDER       ITS    DENIAL        OF    CLASS
      CERTIFICATION.

       Petitioners raise a number of challenges to the Proclamation that, if successful, would

prevent the Proclamation’s enforcement against any class member. See infra Part II (listing the

claims that are common to all class members). Resolving these identical and dispositive claims in


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 one case, rather than dozens or hundreds of separate cases, is exactly what class actions are for.

 For similar reasons, the claims of named Petitioners are typical of those of the putative class.

 Petitioners respectfully submit that the Court’s reasons for nonetheless denying class certification

 are incorrect and should be reconsidered.

        A. Courts Routinely Certify Rule 23(b)(2) Classes Even Though Individualized
           Claims Cannot Be Resolved on a Classwide Basis.

        The Court reasoned that class certification was inappropriate because of the possibility of

 individualized, as-applied claims that could not be litigated on a classwide basis. As the Court

 explained, “if the petitioners lose on the merits” of their classwide claims, “then relief may be

 appropriate only to some members of the class.” Op. 38. Petitioners acknowledge that certain

 claims—like an assertion that a person is not a member of TdA—would need to be decided on an

 individual basis, and Petitioners have never sought to litigate these as a class. See J.A.V., 2025

 WL 1256996, *5 (certifying class while noting the “relatively-narrow issue of the person’s alleged

 membership in TdA”). 1 But both common and individual claims are almost always present in

 cases challenging government or corporate policies. Nearly every Rule 23(b)(2) case involves

 classwide claims that, if they are unsuccessful, would give way to individualized claims by some

 class members. But that has never prevented courts from resolving broad challenges on a

 classwide basis.

        For instance, in Califano v. Yamasaki, a plaintiff class challenged an agency’s attempt to

 recover funds that the agency had overpaid to class members. 442 U.S. 682, 686-88 (1979).

 Individual claims about whether a particular person was, in fact, overpaid were obviously not

 amenable to classwide resolution. Id. at 701 (noting “the need for case-by-case adjudication” of


 1
  As explained below, Petitioners’ claims regarding removal procedures under the INA and CAT
 are common to the class. See infra Part II.

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 these claims). Yet the Supreme Court held that class certification was appropriate, because the

 class had one common challenge—to the agency’s notice and hearing procedures—that, if

 successful, would apply to the entire class. As the Court explained, by resolving this one common

 claim, “the class-action device saves the resources of both the courts and the parties by permitting

 an issue potentially affecting every social security beneficiary to be litigated in an economical

 fashion.” Id.

        Similarly, in Wal-Mart v. Dukes, the Supreme Court explained that certification under Rule

 23(b)(2) is appropriate “when a single injunction or declaratory judgment would provide relief to

 each member of the class,” 564 U.S. 338, 360 (2011)—which is concededly true here—and that

 “any claim for individualized relief” would be pursued separately from the “classwide injunction,”

 id. at 361. In fact, the Court explained that Rule 23(b)(2) was modeled on “civil rights cases”

 challenging discriminatory policies, id. (cleaned up), where it is routine for challenges to an overall

 policy to be resolved on a class basis, followed by individual claims that are litigated separately.

 See Cooper v. Federal Reserve Bank of Richmond, 467 U.S. 867, 880-81 (1984) (permitting certain

 “individual claims” to proceed in a “separate action” after classwide discrimination claims failed).

        Indeed, the Supreme Court has repeatedly decided classwide challenges to broad policies,

 before remanding for courts to “consider any individual claims” that remained. Parham v. J. R.,

 442 U.S. 584, 616-17 (1979); see County of Riverside v. McLaughlin, 500 U.S. 44, 56-57 (1991)

 (resolving claim that arrest procedures were categorically deficient, while acknowledging that as-

 applied claims “in a particular case” would vary with context). None of these classes would have

 been possible if it were true that the existence of as-applied claims negated the ability to bring

 facial challenges as a class.

        This Court relied on General Telephone Co. v. Falcon, where the Supreme Court rejected



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 a Rule 23(b)(2) class. 457 U.S. 147 (1982); Op. 31-32. But Falcon’s holding was premised on

 the Court’s conclusion that there was no “general policy” to challenge. 457 U.S. at 159 n.15; see

 id. at 157 (rejecting “unsupported allegation that the company has a policy of discrimination”).

 Wal-Mart rejected a class for the same reason—because a “general policy” was “entirely absent.”

 564 U.S. at 353. But that is the opposite of this case, where Petitioners challenge an explicit written

 policy: the Proclamation. Both Falcon and Wal-Mart made clear that class certification would

 have been appropriate if there had been a “general policy of discrimination,” id.—even though, if

 class claims against such a policy had failed, class members’ subsequent discrimination claims

 would have been individualized, Cooper, 467 U.S. at 880-81.

        The Fifth Circuit has made this equally clear. For instance, in In re Rodriguez, the Court

 affirmed the certification of a Rule 23(b)(2) class to challenge a company’s “fee assessment and

 collection practice,” even though it acknowledged “the individualized manner in which each class

 member may have been affected by the practices.” 695 F.3d 360, 365-67 (5th Cir. 2012). In fact,

 the Fifth Circuit noted a host of related individual claims that were not amenable to classwide

 resolution, but the Court explained that those did not prevent class certification for the one claim

 that sought broad-based relief against a company policy. Id. at 366-67 (“As a result, the injunctive

 claim on its own does not involve the myriad issues that may arise in each case . . . .”) (quotation

 marks omitted).

        Across all circuits, courts regularly certify Rule 23(b)(2) classes challenging broad policies,

 despite the likelihood of later individualized claims by class members. See, e.g., Doster v. Kendall,

 48 F.4th 608, 615 (6th Cir. 2022), vacated as moot, 144 S. Ct. 481 (2023); McReynolds v. Merrill

 Lynch, Pierce, Fenner & Smith, Inc., 672 F.3d 482, 490-91 (7th Cir. 2012); Walters v. Reno, 145

 F.3d 1032, 1046 (9th Cir. 1998). And almost any time plaintiffs challenge a government policy,



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 the setup is exactly the same as the Court identified here: If the classwide challenges succeed, the

 litigation ends for everyone; if they fail, individual class members can bring their own as-applied

 challenges. That circumstance is not a reason to deny class certification for the common claims.

 See J.A.V., 2025 WL 1256996, at *5.

        B. Class Resolution of Common Claims Does Not Preclude Individualized Claims.

        The Court expressed concern that if it decided the common claims on a classwide basis, its

 decision might preclude any subsequent individualized claims as a matter of res judicata. Op. 25,

 42. But it is black-letter law that “a judgment in a class action does not preclude later lawsuits by

 class members concerning individualized claims.” 6 Newberg and Rubenstein on Class Actions §

 18:17 (6th ed.) (“This is so even though the individualized claims may share such a close factual

 predicate with the claims in the class suit that they would have had to have been joined in two-

 party litigation.”); see Wright & Miller, 18A Fed. Prac. & Proc. Juris. § 4455.2 (3d ed.) (same).

 Otherwise, a class could never bring a challenge to a policy based on a common question without

 precluding all future individualized challenges.

        The Supreme Court made this clear in Cooper, where it held that a class judgment is not

 “dispositive of the individual claims the [] petitioners have alleged in [a] separate action.” 467

 U.S. at 880-81 (holding that the failure of a classwide claim of discrimination did not preclude a

 class member’s individualized claim of discrimination). This makes sense because a class

 judgment cannot bar individualized claims that could not have been litigated by the class. The

 lower courts have implemented this principle accordingly. See Bernard v. Gulf Oil Corp., 841

 F.2d 547, 569-70 (5th Cir. 1988) (applying Cooper and addressing “plaintiffs’ individual claims”

 that could still be litigated after the “classwide claims”); Cameron v. Tomes, 990 F.2d 14, 18 (1st

 Cir. 1993) (same); Pride v. Correa, 719 F.3d 1130, 1137 (9th Cir. 2013) (same); In re Vitamin C



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 Antitrust Litig., 279 F.R.D. 90, 114 (E.D.N.Y. 2012) (same); Chauvin v. State Farm, 2007 WL

 2903321, at *7 (E.D. La. Oct. 2, 2007) (same). Beyond that, res judicata generally does not apply

 in habeas cases. See, e.g., Sanders v. United States, 373 U.S. 1, 7-8 (1963) (applying “the familiar

 principle that res judicata is inapplicable in habeas proceedings”) (cleaned up). Consequently, for

 these multiple reasons, there is no cause to fear that judgment on the class’s common challenges

 will bar individual class members from asserting that they are not TdA members. 2

        C. The Court Can Enjoin the Removal of Petitioners and Class Members.

        In its order, the Court appeared to suggest that it might not be able to issue any “injunctive

 relief in this case,” because “individual writs of habeas corpus may be the only remedies

 available.” Op. 43-44 (“[T]he sole function of habeas corpus is to provide relief from unlawful

 imprisonment or custody, and it cannot be used for any other purpose.”) (quotation marks omitted).

 Insofar as this is what the Court meant, it is inconsistent with the Supreme Court’s ruling just

 weeks ago in J.G.G. There, the Court squarely held that people can and must challenge AEA

 removals in habeas. 145 S. Ct. at 1005 (petitioners may challenge “removal under the AEA”). 3

 And the Court made clear that petitioners must be able “to actually seek habeas relief in the proper

 venue before such removal occurs.” Id. at 1006. 4


 2
   For the same reasons, class certification as to the common issues would not prevent “a
 petitioner who is a citizen or only thirteen years old” from immediately asserting their
 individualized claim. Op. 41.
 3
   In addition to the Court’s general equitable authority, enjoining removal is authorized by the All
 Writs Act, see A.A.R.P. v. Trump, 145 S. Ct. 1034 (Mem.) (2025) (citing 28 U.S.C. § 1651(a)),
 and by 28 U.S.C. § 2243, which directs habeas courts to “dispose of the matter as law and justice
 require.” See Lee Kovarsky, The New Negative Habeas Equity, 137 Harv. L. Rev. 2222, 2240
 (2024) (explaining that § 2243 “expanded the menu of available remedies”).
 4
   In fact, the only relief the petitioners were seeking in the TRO reviewed in J.G.G. was to enjoin
 their removal. They were not challenging their detention. So the very issue before the Court in
 J.G.G. was where petitioners had to bring claims to prevent removal, and the Court ruled that
 such claims should be brought by habeas in the district of confinement.

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        Refusing to enjoin a person’s removal under the AEA would deny them the exact relief the

 Supreme Court said they must seek through habeas. And it would guarantee that detainees—

 perhaps all of the detainees in this District—would be removed without judicial review, because

 the government has said that it may remove people for whom a court declines to enjoin removal.

 See Cisneros Decl., ECF No. 55-1 ¶ 12. Every other habeas court to consider the issue has enjoined

 removals under the AEA while judicial review proceeds. See, e.g., J.A.V., 2025 WL 1257450, *20

 (enjoining removals); D.B.U. v. Trump, 2025 WL 1304288, *10 (D. Colo. May 6, 2025) (same);

 G.F.F. v. Trump, 2025 WL 1301052, *11 (S.D.N.Y. May 6, 2025) (same); A.S.R. v. Trump, 2025

 WL 1208275, *4 (W.D. Pa. Apr. 25, 2025) (same).

    II. ALTERNATIVELY, THE COURT SHOULD CERTIFY                                   PETITIONERS’
        MULTIPLE COMMON CLAIMS UNDER RULE 23(c)(4).

        Petitioners are asserting multiple challenges to the validity of the Proclamation. Any one

 of these claims would be sufficient to enjoin its enforcement as to all class members. Indeed, as

 this Court acknowledged, Petitioners’ claims “that the Proclamation is ultra vires . . . may render

 classwide relief appropriate.” Op. 37; see id. at 26, 37-39 (these “would likely result in the same

 relief to all class members if the petitioners prevail on the merits”). The same is true of multiple

 other claims, listed below. At a minimum, the Court should certify these issues for class resolution

 pursuant to Rule 23(c)(4), which provides that “an action may be brought or maintained as a class

 action with respect to particular issues.” To certify a class under Rule 23(c)(4), “the class

 proponent need only” show compliance with Rule 23(a) and Rule 23(b)(2) “with regard to the

 issue proposed for certification.” 2 Newberg and Rubenstein on Class Actions § 4:92 & n.7 (6th

 ed.) (emphasis in original) (collecting cases).

        The common issues warranting class treatment are:




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 1. Petitioners’ claim that the Proclamation is invalid because there is no “invasion or predatory

     incursion” within the meaning of the AEA, 50 U.S.C. § 21; see Amended Pet., ECF No. 38 ¶¶

     78-79. This claim alone merits classwide resolution. Multiple courts have agreed with this

     claim and thus enjoined the Proclamation’s enforcement classwide. See J.A.V., 2025 WL

     1257450, *18; G.F.F., 2025 WL 1301052, at *1; D.B.U., 2025 WL 1304288, at *7; see also

     J.G.G. v. Trump, No. 25-5067, 2025 WL 914682, *8-10 (D.C. Cir. Mar. 26, 2025) (Henderson,

     J., concurring).

 2. Petitioners’ claim that the Proclamation is invalid because it does not target a “foreign nation

     or government.” 50 U.S.C. § 51; see ECF No. 38 ¶¶ 78-79; D.B.U., 2025 WL 1304288, at *7

     (agreeing with this claim).

 3. The claim that the Proclamation improperly circumvents the INA’s removal procedures, which

     would render all removals under the Proclamation invalid. ECF No. 38 ¶¶ 84-87. 5

 4. The claim that the Proclamation improperly eliminates the screening requirements and

     substantive prohibitions for torture and persecution guaranteed by the Convention Against

     Torture and withholding statute, especially given the conditions at CECOT. See ECF No. 38

     ¶¶ 89-90, 92-93; 95-96; 8 U.S.C. § 1231(b)(3); 8 U.S.C. § 1231 note; C.F.R. §§ 208.16-.18;

     see also J.G.G. v. Trump, No. 1:25-cv-766, ECF Nos. 44-3, 44-4 (D.D.C. Mar. 19, 2025)



 5
   The Court interpreted the claims based on the INA and CAT as individualized claims. Op. 23,
 27. But the only claims that Petitioners seek to litigate as a class are common to all class
 members: that no class member can be removed without following the removal procedures in the
 INA; that no class member can be removed without being screened for persecution and torture;
 that no class member can be removed to CECOT where they would face grave abuse. “These
 issues hold true for any individual that Respondents designate as an alien enemy under the
 Proclamation and subject to removal under the AEA. A favorable result on any of these legal
 theories as to one individual will prove equally applicable to other Venezuelan aliens designated
 as alien enemies under the Proclamation.” J.A.V., 2025 WL 1256996, *4. At any rate, even
 without these claims, class certification would remain proper as to the other common challenges.

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     (describing conditions at CECOT, including beatings, torture, forced labor, and indefinite

     detention, incommunicado, without trial).

 5. Petitioners’ claim that the government’s notice procedures are categorically unconstitutional

     and unlawful as to all class members. See ECF No. 38 ¶¶ 103-04; County of Riverside v.

     McLaughlin, 500 U.S. 44, 56-59 (1991) (arrest procedures deficient on a classwide basis,

     despite obvious variation in individual circumstances); Califano v. Yamasaki, 442 U.S. 682,

     701 (1979) (class certification proper for due process claim); see also G.F.F., 2025 WL

     1301052, at *8; D.B.U., 2025 WL 1304288, at *8.

        Rather than just “one theory,” Op. 46, these common, classwide claims raise a host of

 weighty and complex issues, and any one of them would be enough to resolve this entire litigation.

 See J.A.V., 2025 WL 1256996, *4 (listing these same challenges as issues that are common to the

 whole class). These claims, or any subset of them, are sufficient for reconsideration under Rule

 23(b)(2) or certification under Rule 23(c)(4). 6

        The Fifth Circuit has repeatedly endorsed the certification of issue classes in this situation.

 In In re Deepwater Horizon, the Court explained that Rule 23(c)(4) “permits district courts to limit

 class treatment to ‘particular issues’ and reserve other issues for individual determination.” 739

 F.3d 790, 816 (5th Cir. 2014) (cited in J.A.V., 2025 WL 1256996, *4-6); see Chavez v. Plan Benefit

 Servs., Inc., 108 F.4th 297, 318 (5th Cir. 2024) (“common and individual issues can be divided”

 under Rule 23(c)(4)) (cleaned up). And it held that class certification is proper where “a single

 common contention” could “drive the resolution of the litigation.” Deepwater Horizon, 739 F.3d


 6
  There is no predominance requirement for a class certified under Rule 23(b)(2) or 23(a)(4). See
 Wal-Mart, 564 U.S. at 362 (common claims must only predominate for a Rule 23(b)(3) class);
 Neese v. Becerra, 342 F.R.D. 399, 412 (N.D. Tex. 2022) (same). But as mentioned, the common
 claims here are numerous and complex, whereas the individual questions of TdA membership are
 “relatively[] narrow.” J.A.V., 2025 WL 1256996, *5.

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 at 810-11 (quotation marks omitted).

       III.      A DISTRICT-WIDE CLASS IS NECESSARY FOR DETAINEES TO OBTAIN
                 JUDICIAL REVIEW.

              Class certification is critical to effectuate the Supreme Court’s instruction in J.G.G. that

 individuals subject to the Proclamation be allowed “to actually seek habeas relief” before they are

 removed. 145 S. Ct. at 1006. A large number of detainees do not have lawyers and do not speak

 English. The government is planning to remove them a mere 12 or 24 hours after giving them an

 English-only form that does not tell them they can challenge their designation, how to do so, or on

 what timeframe. Cisneros Decl., ECF No. 55-1, ¶ 11. Forcing them to proceed individually is

 very likely to result in many people being removed with no real chance to seek judicial review.

 And this problem would be greatly magnified if the government responds to the denial of class

 certification by moving even greater numbers of detainees into this district.

              The Court suggested that individuals could file their own habeas petitions, Op. 47, but not

 a single AEA detainee has managed to file on their own petition in the two months since the

 Proclamation was issued. That is not surprising, given the barriers of language, legal knowledge,

 and limited access to computers and other resources while in detention. Smulian Decl. ¶¶ 7-9;

 Sarabia Decl. ¶¶ 4-6. Indeed, the sample forms the Court mentioned are written in English only.7

 As for obtaining counsel, the government has made it difficult for lawyers to help detainees bring

 AEA claims. The government has refused to provide counsel with information about unnamed

 class members. ECF No. 30 at 1 n.1. But the government requires attorneys to provide a name

 and A number in order to meet with a detainee. Sarabia Decl. ¶ 3. Counsel therefore cannot meet

 with most of the 176 putative class members under the government’s rules. Beyond that, the only



 7
     Pro Se Forms, Northern District of Texas, https://www.txnd.uscourts.gov/pro-se/forms.

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 outside contact the government has promised detainees who receive an AEA notice is a single

 phone call. See Cisneros Decl., ECF No. 55-1 ¶¶ 10, 11. Without a class, a large number of

 detainees may be deported to CECOT before they can obtain representation.

          The Court also suggested that a class might not extend beyond Bluebonnet. Op. 35-36.

 But a district-wide class is necessary here to prevent the government from unilaterally defeating

 any relief by moving detainees to different facilities within this District. The government moved

 large numbers of AEA detainees into this District mere days after judges in other districts had

 enjoined removals. ECF No. 2-1 at 3. And in recent weeks, the government has moved putative

 class members from Bluebonnet to the Eden Detention Center and Prairieland Detention Facility,

 see Smulian Decl. ¶ 2; Sarabia Decl. ¶ 7, at the same time it has argued that any class in this case

 should be limited to Bluebonnet, ECF No. 49 at 10-12.

          Limiting the class to one detention facility would thus allow the government to keep

 moving detainees in a manner that thwarts judicial review. Petitioners have named the proper

 custodians as defendants—the wardens of each facility in this District that detains class

 members—and venue is proper for each one under the district-of-confinement rule. See J.G.G.,

 145 S. Ct. at 1005-06 (requiring habeas petitions to be filed in the “district of confinement”). Every

 other court to consider this issue has certified classes encompassing the entire judicial district. It

 is critical that the same happen here, to ensure that people are not removed before their claims can

 be heard.

    IV.      THE COURT CAN CERTIFY A CLASS UNDER EITHER RULE 23 OR THE
             ALL WRITS ACT.

          All six circuits to consider the issue have held that habeas petitioners can litigate common

 claims through a class action. This Court expressed doubt that the All Writs Act was a source of

 authority to certify a habeas class. Op. 45-46. But courts across the country have relied on the


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 Act in habeas and other class actions. See, e.g., LoBue v. Christopher, 82 F.3d 1081, 1085 (D.C.

 Cir. 1996) (collecting cases); Bijeol v. Benson, 513 F.2d 965, 968 (7th Cir. 1975); Napier v.

 Gertrude, 542 F.2d 825, 827 & n.2 (10th Cir. 1976); Malam v. Adducci, 475 F. Supp. 3d 721, 733

 (E.D. Mich. 2020). And specifically in AEA cases, multiple courts have relied on the All Writs

 Act to certify habeas classes and issue relief to such classes. See J.A.V., 2025 WL 1256996, *2,

 5; D.B.U., 2025 WL 1304198, *3; G.F.F., 2025 WL 1166482, *2; cf. A.A.R.P. v. Trump, 145 S.

 Ct. 1034 (Mem.) (2025) (citing All Writs Act to enjoin removal of “any member of the putative

 class of detainees” in this case).

         This Court’s reason for rejecting the All Writs Act was that Rule 23(a) says classes can be

 certified “only if” they comply with the four requirements of Rule 23(a). As explained above and

 in Petitioners’ class certification briefs, the four requirements are satisfied here. See, e.g., J.A.V.,

 2025 WL 1256996, *2-5; G.F.F., 2025 WL 1166482, *2 (certifying class under All Writs Act after

 finding Rule 23(a) factors satisfied). This reason therefore does not pose any impediment to a

 habeas class under the All Writs Act.

         Relatedly, the Court stated that “the individualized nature of habeas” presents a reason to

 deny class certification here. Op. 37; see id. at 24. But Petitioners’ core point is that their

 challenges to the validity of the Proclamation are not individualized, see supra Part II, but rather

 apply equally to every class member. These are precisely the type of claims for which courts

 certify class actions in habeas and other cases challenging broad policies.

                                           CONCLUSION

         The Court should grant reconsideration and certify the requested class, or alternatively

 certify a class to litigate the common issues under Rule 23(c)(4).




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 13, 2025, a true and correct copy of the foregoing document

 was electronically filed via the Court’s CM/ECF system which sends notice of electronic filing

 to all counsel of record.

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